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                                                November 6, 2020


 VIAECF
 Hon. Kenneth M. Karas
 The Hon. Charles L. Brieant Jr.
 Federal Building and United States Courthouse
 300 Quarropas St.
 White Plains, NY 10601-4150

                              Re:        Carlos Ocampo et al . v. 455 Hospitality LLC et al. ,
                                         Case No. 14 CV 9614 (KMK)(PED)
 Dear Judge Karas:

 This firm, along with Vincent Volino PLLC, represent the plaintiffs in the above-referenced action.
 We write this letter jointly with counsel for the settling defendants seeking an extension of the time
 to submit proposed settlement documents to Your Honor. The settling parties are continuing to
 cooperate to get to the point at which we can submit the documents to the Court. Several significant
 issues concerning the documents have been resolved among counsel after extensive discussions. In
 addition, defendants have agreed to provide summary payroll documents to plaintiffs, to the extent
 such documents exist and can be located, which will allow plaintiffs to more accurately and efficiently
 calculate fair allocations. As such, the settling parties hereby request that the deadline for submission
 of proposed settlement documents be extended for 30 days to, and including, December 9, 2020 to
 allow time for the settling parties and their counsel to finalize the documents.

  Very truly yours,    Very truly yours,          Very truly yours,                  Very truly yours,

  Isl Jack Malley      Isl David E. Strand        Isl Jonathan M. Kozak              Isl Jonathan D. Levitan

  Jack Malley, Esq.    David E. Strand, Esq.      Jonathan M. Kozak, Esq.            Jonathan D. Levitan, Esq.
  Smith, Buss          Fisher & Phillips LLP      Jackson Lewis P.C.                 The Law Office of
   & Jacobs, LLP           Granted.                                                  Jonathan D. Levitan, LLC

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                                                  11/9/20
 cc: Counsel of Record ( ~
